Case 1:22-cv-23684-JAL Document 37 Entered on FLSD Docket 02/02/2023 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                        CASE NO.: 1:22-cv-23684-JAL

        ADISLEN PAZ DEL SOL,

                           Plaintiff,

                            v.

        HOMESTEAD HOSPITAL, INC.,
        BAPTIST HEALTH SOUTH FLORIDA,
        INC., PARAGON CONTRACTING
        SERVICES, LLC, d/b/a TEAMHEALTH
        FLORIDA1, and HEALTHCARE
        REVENUE RECOVERY GROUP, LLC,
        d/b/a HRRG, ARS ACCOUNT
        RESOLUTION SERVICES,

                       Defendant.
          _______________________________/


           JOINT NOTICE OF SETTLEMENT AS TO DEFENDANT HEALTHCARE
          REVENUE RECOVERY GROUP, LLC D/B/A ARS ACCOUNT RESOLUTION
                      SERVICES; and PARAGON CONTRACTING
                        SERVICES, LLC, d/b/a TEAMHEALTH
                                     FLORIDA

             Plaintiff, Adislen Paz Del Sol, and Defendants, Healthcare Revenue Recovery Group,

    LLC, d/b/a ARS Account Resolution Services, and Paragon Contracting Services, LLC, d/b/a

    Teamhealth Florida by and through their undersigned counsel, hereby notify the Court that the

    aforementioned Parties have reached a settlement in the above-captioned matter.




    1
        Th correct name of this Defendant is Paragon Contracting Services, LLC.
Case 1:22-cv-23684-JAL Document 37 Entered on FLSD Docket 02/02/2023 Page 2 of 3




            The parties are in the process of finalizing the terms of settlement and respectfully

    request that this Court allow thirty (30) days to complete the settlement, during which time

    Parties request this Court retain jurisdiction over this matter until fully resolved. The Parties

    anticipate that a joint stipulation to voluntary dismissal with Prejudice will be filed within thirty

    (30) days.

    Dated this 2nd day of February 2023.



     /s/ Monica Amor.                                      /s/ Ernest H. Kohlmyer, III
     Monica Amor, Esq.                                     Ernest H. Kohlmyer, III, Esquire
     Amor Law Firm P.A.                                    Florida Bar No. 110108
     mamor@amorlaw.com                                     Skohlmyer@shepardfirm.com
     Florida Bar No. 0118664                               Shepard, Smith, Kohlmyer & Hand, P.A.
     3625 NW 82nd Avenue, Suite 203                        2300 Maitland Center Parkway, Suite 100
     Doral, Florida 33166                                  Maitland, Florida 32751
     Telephone 305-882-2667                                Telephone (407) 622-1772
     Facsimile 888-311-2667                                Facsimile (407) 622-1884
     Attorney for Plaintiff                                Attorneys for Defendant, Healthcare
                                                           Revenue Recovery Group, LLC d/b/a ARS
                                                           Account Resolution Services

     /s/ Nina C. Welch
     Peter R. Goldman, Esq.
     Florida Bar No. 860565
     Nina C. Welch
     Florida Bar No. 118900
     Daniel Alvarez
     Florida Bar No. 1010172
     Amor Law Firm P.A.
     Nelson Mullins
     100 S.E. 3rd Avenue, Suite 2700
     Fort Lauderdale, FL 33394
     Telephone: (954) 745-7060
     Fax: (954) 761-8135
     peter.goldman@nelsonmullins.com
     stacy.brown@nelsonmullins.com
     nina.welch@nelsonmullins.com
     herold.labissiere@nelsonmullins.com


                                                     2
Case 1:22-cv-23684-JAL Document 37 Entered on FLSD Docket 02/02/2023 Page 3 of 3




     daniel.alvarez@nelsonmullins.com
     traci.lewis@nelsonmullins.com
     Attorney for Paragon Contracting Services,
     LLC


                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

    February 2, 2023, with the Clerk of the Court by using the electronic filing system. I further

    certify that the foregoing has been sent via electronic transmission to the following: Monica

    Amor, Esquire of Amor Law Firm, P.A., at mamor@amorlaw.com. (Attorneys for Plaintiff),

    Nina C. Welch, Esquire, Peter R. Goldman, Esquire, and Daniel Alvarez, Esquire at

    nina.welch@nelsonmullins.com;               peter.goldman@nelsonmullins.com;              and

    daniel.alvarez@nelsonmullins.com; (Attorneys for Paragon Contracting Services, LLC); and

    Matthew L. Lines, Esquire, and Catherine A. Mancing, Esquire at Lines@irlaw.com,

    Isicoff@irlaw.com; and Mancing@irlaw.com (Attorneys for Defendants, Homestead Hospital,

    Inc., and Baptist Health South Florida, Inc.).



                                                         /s/ Ernest H. Kohlmyer, III
                                                         Ernest H. Kohlmyer, III, Esq., LL.M.
                                                         Florida Bar No.: 110108
                                                         skohlmyer@shepardfirm.com
                                                         Shepard, Smith, Kohlmyer & Hand, P.A.
                                                         2300 Maitland Center Parkway, Suite 100
                                                         Maitland, Florida 32751
                                                         Telephone (407) 622-1772
                                                         Facsimile (407) 622-1884
                                                         Attorneys for Defendant, Healthcare
                                                         Revenue Recovery Group, LLC d/b/a ARS
                                                         Account Resolution Services




                                                     3
